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13                           UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                 WESTERN DIVISION
15
     MOSAFER INC.; MOSAFER E-COM,                                  Civil Case No.:
16   INC.; AND GOMOSAFER
                                                                   2:21-cv-06320-MCS-JC
17
             Plaintiffs,
18
             v.                                                    MEMORANDUM OF POINTS AND
19                                                                 AUTHORITIES IN SUPPORT OF
     ELLIOT BROIDY; GEORGE NADER;                                  COUNTERCLAIM-DEFENDANT
20
     BROIDY CAPITAL MANAGEMENT,                                    STATE OF QATAR’S MOTION TO
21   LLC; CIRCINUS, LLC; THE IRON                                  STAY DISCOVERY PENDING
     GROUP INC. D/B/A IRONISTIC.COM;                               RESOLUTION OF
22
     SCL SOCIAL LIMITED; PROJECT                                   COUNTERCLAIM-DEFENDANT
23   ASSOCIATES UK LTD; MATTHEW                                    STATE OF QATAR’S MOTION TO
     ATKINSON; AND JOHN DOES 1-100,                                DISMISS
24

25           Defendants.                                           [Filed Concurrently with Notice of
                                                                   Motion and Motion to Stay Discovery;
26
     ELLIOT BROIDY; BROIDY CAPITAL                                 Proposed Order]
27   MANAGEMENT, LLC; CIRCINUS, LLC,
                                                                   Hearing Date: January 24, 2022
28

        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF COUNTERCLAIM-DEFENDANT STATE OF QATAR’S MOTION TO STAY
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 1          Counterclaim-Plaintiffs,                              Time: 9:00 a.m.
 2                                                                Courtroom: 7C
            v.                                                    Judge: Hon. Mark C. Scarsi
 3

 4
     MOSAFER INC.; MOSAFER E-COM,
     INC.; GOMOSAFER, STATE OF QATAR,
 5   ABU ISSA HOLDING WLL, ASHRAF
 6
     ABU ISSA, NABIL ABU ISSA

 7          Counterclaim-Defendants.
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       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF COUNTERCLAIM-DEFENDANT STATE OF QATAR’S MOTION TO STAY
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 1                                              INTRODUCTION
 2          Counterclaim-Defendant State of Qatar (“Qatar” or “the State”) respectfully
 3   requests a stay of discovery related to counterclaims filed by Defendants Elliott Broidy,
 4   Broidy Capital Management, LLC (“BCM”), and Circinus, LLC (together, “Broidy”),
 5   pending resolution of Qatar’s concurrently filed Motion to Dismiss Pursuant to Rules
 6   12(b)(1) and 12(b)(2) of the Federal Rules of Civil Procedure. Qatar’s Motion to Dismiss
 7   is based on its sovereign immunity pursuant to the Foreign Sovereign Immunities Act
 8   (“FSIA”) and will entirely dispose of the counterclaims filed against the State, obviating
 9   the need for discovery into the inherently sensitive realm of a foreign sovereign’s
10   diplomatic and political affairs. Given that discovery will commence shortly in this
11   matter, Qatar respectfully requests that the Court address this issue on an expedited
12   basis.1
13          As detailed in Qatar’s accompanying Motion to Dismiss, the Ninth Circuit has
14   already held in an earlier suit that Qatar is immune from Broidy’s allegations, and
15   Broidy’s attempt to plead around the FSIA’s clear-cut protections by bringing
16   counterclaims against Qatar in this action is entirely meritless. A stay of discovery
17   pending resolution of Qatar’s Motion to Dismiss is necessary because permitting
18   discovery related to the counterclaims against Qatar—whether directed at Qatar or at
19   others—would undercut a fundamental purpose of immunity under the FSIA: “to protect
20   foreign nations not only from liability but also from the expense, intrusiveness, and
21   hassle of litigation.” E.g., Beierwaltes v. L’Office Federale De La Culture De La
22   Confederation Suisse, 999 F.3d 808, 828 (2d Cir. 2021) (internal quotation marks and
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       According to the Court’s Order Setting Scheduling Conference, Broidy and Plaintiffs
25   Mosafer Inc., Mosafer E-Com Inc., and GoMosafer may begin propounding discovery
     before the Scheduling Conference, which is scheduled for January 3, 2022. See ECF No.
26   48, at 1–2. The parties have stipulated to postpone the Conference until February 28,
     2022, see ECF No. 95, at 3, but the Court has not yet approved the postponement, and
27   more importantly, under the Court’s Order it is possible for discovery to commence
     before the Conference. See ECF No. 48, at 2. Because Qatar has not yet been served, it
28   is not bound by these deadlines.
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         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF COUNTERCLAIM-DEFENDANT STATE OF QATAR’S MOTION TO STAY
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 1   citation omitted); see also In re Papandreou, 139 F.3d 247, 251 (D.C. Cir. 1998)
 2   (“[S]overeign immunity is an immunity from trial and the attendant burdens of litigation,
 3   and not just a defense to liability on the merits.” (internal citation omitted)).
 4         A stay of discovery is accordingly appropriate as to each of Broidy’s
 5   counterclaims, to the extent they implicate the State. First, a complete stay is appropriate
 6   for Broidy’s claims against Qatar for allegedly hacking into BCM’s server and
 7   disseminating Broidy’s private materials (Counts Three through Twelve, and collectively
 8   the “hacking claims”), which were already dismissed by a court in this District in an
 9   earlier suit. See Broidy Cap. Mgmt., LLC v. Qatar, No. 2:18-cv-2421, 2018 WL
10   6074570, at *1, 11 (C.D. Cal. Aug. 8, 2018), aff’d, 982 F.3d 582 (9th Cir. 2020). Second,
11   a stay is appropriate for Broidy’s remaining claims (Counts One, Two, and small portion
12   of Count Three, and collectively the “suit-filing claims”), which name both Qatar and
13   Plaintiffs Mosafer Inc., Mosafer E-Com Inc., and GoMosafer (“Mosafer”), and which
14   allege that Mosafer filed this suit at Qatar’s behest for improper purposes, to the extent
15   those claims implicate the State.
16         If a stay is not entered, Broidy will likely begin to engage in wide-ranging,
17   burdensome, and invasive discovery before the Court has the opportunity to consider
18   whether there is any basis for an exception to Qatar’s immunity from suit at all. In the
19   previous lawsuit filed by Broidy against Qatar, the plaintiffs seized on Judge John F.
20   Walter’s Standing Order authorizing the commencement of discovery without prior
21   authorization of the court to engage in a flurry of third-party discovery, issuing more than
22   90 third-party subpoenas in the short period before the case was dismissed on the basis of
23   Qatar’s sovereign immunity. See Standing Order, Broidy Cap. Mgmt., LLC v. Qatar, No.
24   2:18-cv-2421, ECF No. 17, at 6, § 4(b) (C.D. Cal. Mar. 27, 2018) (“Counsel shall begin
25   to actively conduct discovery before the Fed. R. Civ. P. 26(f) conference.”). This
26   discovery sought sensitive materials related to Qatar’s foreign policy, see id., Suppl.
27   Mem. in Opp’n to Pls.’ Mot. Challenging Qatar’s Designations, ECF No. 240 (C.D. Cal.
28   Oct. 26, 2018), and the court denied plaintiffs’ later efforts to make certain of those
                                                   2
        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF COUNTERCLAIM-DEFENDANT STATE OF QATAR’S MOTION TO STAY
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 1   materials public, see id., ECF No. 242 (C.D. Cal. Nov. 2, 2018). And in another suit filed
 2   against Qatar’s alleged agents, the D.C. Circuit specifically acknowledged the risk that
 3   Elliott Broidy and BCM would use the litigation to “seek to gain access to Qatar’s
 4   sensitive, diplomatic communications,” Broidy Cap. Mgmt., LLC v. Muzin, 12 F.4th 789,
 5   803–04 (D.C. Cir. 2021) (internal quotation marks and citation omitted), and noted that
 6   “the district court has the appropriate tools to protect Qatar’s absolute FSIA ‘immunity
 7   from trial and the attendant burdens of litigation.’” Id. (quoting Kilburn v. Socialist
 8   People’s Libyan Arab Jamahiriya, 376 F.3d 1123, 1126 (D.C. Cir. 2004)).
 9         So long as Qatar’s Motion to Dismiss remains pending, any discovery as to
10   Broidy’s counterclaims alleging a hacking operation and Qatar’s purported involvement
11   in the filing of this suit is improper. A stay of such discovery is necessary to protect
12   Qatar’s sovereign interests, immunities, and privileges while the State’s assertion of its
13   immunity under the FSIA is adjudicated.
14                                               BACKGROUND
15         Elliott Broidy and his company, BCM, have brought multiple lawsuits against
16   Qatar and its purported agents, beginning with a suit filed in 2018 in this District. See
17   Broidy Cap. Mgmt., LLC v. Qatar, No. 2:18-cv-2421, ECF No. 1 (C.D. Cal. Mar. 26,
18   2018). The court promptly dismissed the claims against Qatar in that action, which
19   alleged that Qatar and other defendants hacked BCM’s server and disseminated
20   documents located on the server belonging to Elliott Broidy. See Broidy Cap. Mgmt.,
21   LLC v. Qatar, 2018 WL 6074570, at *1, 11. Before the court had an opportunity to act
22   on Qatar’s motion to dismiss, however, Elliott Broidy and BCM engaged in broad third-
23   party discovery aimed at obtaining sensitive information relating to Qatari foreign affairs,
24   including materials protected from disclosure pursuant to the Vienna Convention on
25   Diplomatic Relations. See Vienna Convention on Diplomatic Relations, arts. 24, 27(2),
26   30(2), Apr. 18, 1961, 23 U.S.T. 3227, 500 U.N.T.S. 95.
27         Months after the court dismissed the case and entered final judgment, Broidy and
28   BCM filed a new suit in the District Court for the District of Columbia against several
                                                  3
        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF COUNTERCLAIM-DEFENDANT STATE OF QATAR’S MOTION TO STAY
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 1   individuals and a public relations firm alleged to be Qatar’s agents. See Broidy Cap.
 2   Mgmt., LLC v. Muzin, No. 19-cv-00150, ECF No. 1 (D.D.C. Jan. 24, 2019).2 While not
 3   naming Qatar as a defendant, this new lawsuit largely reasserted the previous allegations
 4   of unlawful access to BCM’s email server and dissemination of Elliott Broidy’s
 5   documents. See id., ECF No. 18-2 (Apr. 2, 2019). Shortly after filing suit, Broidy and
 6   BCM moved for expedited discovery. See id., ECF No. 19 (Apr. 9, 2019). The court
 7   denied this request, finding that “the materials sought would likely require the parties to
 8   negotiate—or litigate—the terms and application of a protective order,” and that some
 9   defendants would likely “challenge [plaintiffs’] requests . . . including on immunity
10   grounds.” See id., Minute Order (June 17, 2019). The Court later denied in part
11   defendants’ motions to dismiss, and that denial was upheld by the D.C. Circuit. See
12   Broidy Cap. Mgmt., LLC v. Muzin, No. 19-cv-00150, 2020 WL 1536350, at *21 (D.D.C.
13   Mar. 31, 2020), aff’d, 12 F.4th 789 (D.C. Cir. 2021). Considering the implications for
14   Qatar of Elliott Broidy and BCM pursuing their claims on remand, the D.C. Circuit
15   explicitly noted the “risk to Qatar that . . . Broidy will seek to ‘gain access to Qatar’s
16   sensitive, diplomatic communications.’” Broidy Cap. Mgmt., LLC v. Muzin, 12 F.4th at
17   803–04 (internal citation omitted). The court ultimately explained, however, that it
18   “trust[ed] [that] the district court has the appropriate tools to protect Qatar’s absolute
19   FSIA ‘immunity from trial and the attendant burdens of litigation.’” Id. (internal citation
20   omitted).
21          In this action, Elliot Broidy, BCM, and Circinus, LLC—another company
22   controlled by Elliott Broidy—have re-alleged the same claims already dismissed in the
23   earlier Central District of California lawsuit, and again alleged in the D.C. District Court,
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25   2
      Elliott Broidy and BCM also filed two other similar suits in the Southern District of
26   New York. See Broidy Cap. Mgmt., LLC v. Benomar, 7:18-cv-06615, ECF No. 56, at *1
     (S.D.N.Y. Dec. 21, 2018), aff’d, 944 F.3d 436 (2d Cir. 2019) (dismissing case on
27   diplomatic immunity grounds); Broidy v. Glob. Risk Advisors LLC, No. 1:19-cv-11861,
     2021 WL 1225949, at *10 (S.D.N.Y. Mar. 31, 2021) (dismissing case for failure to state a
28   claim, with motion for leave to file second amended complaint pending).
                                                            4
         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF COUNTERCLAIM-DEFENDANT STATE OF QATAR’S MOTION TO STAY
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 1   through counterclaims that name Qatar as a counterclaim-defendant. See generally
 2   Counterclaims of Defendants Elliott Broidy, Broidy Capital Management, LLC, and
 3   Circinus, LLC (“Counterclaims”), ECF No. 46 (filed Oct. 7, 2021). Specifically, Counts
 4   Three through Twelve allege that Qatar and its purported agents engaged in a “hack-and-
 5   smear” campaign, pursuant to which Qatar allegedly “directed its agents” to conduct
 6   unlawful intrusions into BCM’s server and disseminate Elliott Broidy’s private materials.
 7   See Counterclaims, ¶¶ 253–382. Counts One and Two, along with a small portion of
 8   Count Three, revolve around Broidy’s speculation that Mosafer filed this lawsuit “at the
 9   behest of Qatar” in order to retaliate against Broidy. See id., ¶¶ 3, 235–52, 261, 264, 301.
10   Broidy named only Qatar as a counterclaim-defendant in the hacking claims, whereas the
11   suit-filing claims also name Mosafer.3
12          Qatar has filed a Motion to Dismiss concurrently with this Motion, seeking
13   dismissal of the counterclaims against the State under the FSIA. See 28 U.S.C. § 1602, et
14   seq. Qatar’s Motion to Dismiss demonstrates that the Court lacks subject matter
15   jurisdiction and personal jurisdiction over Qatar pursuant to the FSIA, and that neither
16   exception to immunity invoked in Broidy’s counterclaims applies to Broidy’s allegations.
17                                                  ARGUMENT
18          Qatar is entitled to a stay of discovery pertaining to Broidy’s hacking claims, as
19   well as Broidy’s suit-filing claims to the extent those latter claims pertain to Qatar, while
20   the State’s Motion to Dismiss is pending. Under the FSIA, foreign states possess not
21   only a claim to immunity from suit, but also a “legitimate claim to immunity from
22   discovery.” Arriba Ltd. v. Petroleos Mexicanos, 962 F.2d 528, 534 (5th Cir. 1992); see
23   also Crist v. Republic of Turkey, 995 F. Supp. 5, 14 (D.D.C. 1998) (“Sovereign immunity
24   entails immunity from discovery when such discovery would ‘frustrate the significance
25   and benefit of entitlement to [immunity from] suit.’”) (quoting Foremost-McKesson, Inc.
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27   3
      Count Three includes elements of both Broidy’s hacking claims and suit-filing claims,
28   and it names both Qatar and Mosafer.
                                                            5
         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF COUNTERCLAIM-DEFENDANT STATE OF QATAR’S MOTION TO STAY
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 1   v. Islamic Republic of Iran, 905 F.2d 438, 449 (D.C. Cir. 1990); Gould, Inc. v. Pechiney
 2   Ugine Kuhlmann, 853 F.2d 445, 451 (6th Cir. 1988)). Indeed, “sovereign immunity is an
 3   immunity from the burdens of becoming involved in any part of the litigation process.”
 4   U.S. v. Moats, 961 F.2d 1198, 1203 (5th Cir. 1992) (emphasis added); see also EM Ltd. v.
 5   Republic of Argentina, 695 F.3d 201, 210 (2d Cir. 2012) (“[S]overeign immunity protects
 6   a sovereign from the expense, intrusiveness, and hassle of litigation.”).
 7         Because sovereign immunity protects foreign states from the burdens of all aspects
 8   of litigation—including discovery—courts “must resolve colorable assertions of
 9   immunity before the foreign sovereign may be required to address the merits at all.”
10   Process & Indus. Devs. Ltd. v. Fed. Republic of Nigeria, 962 F.3d 576, 586 (D.C. Cir.
11   2020). Accordingly, a court must determine whether a foreign state is immune at the
12   outset of a case, i.e., before discovery into the merits begins. Cf. id. (reversing order
13   requiring briefing on the merits before consideration of foreign state’s claim to FSIA
14   immunity, because the order “abrogated the entirety of Nigeria’s asserted immunity from
15   having to defend this case”); see Kelly v. Syria Shell Petroleum Dev. B.V., 213 F.3d 841,
16   847, 849 (5th Cir. 2000) (“tak[ing] into account the nature of FSIA immunity,” which
17   encompasses “immunity . . . from the costs, in time and expense, and other disruptions
18   attendant to litigation,” when upholding denial of discovery). Qatar’s filing of a
19   dispositive motion on sovereign immunity grounds thus necessitates a stay of discovery
20   while that motion is pending.
21         Further, because discovery related to the alleged hacking and Qatar’s purported
22   involvement in the filing of this suit will likely sweep in sensitive materials that implicate
23   Qatar’s governmental functions, an appropriate stay cannot be limited to discovery served
24   on Qatar, but must extend to discovery served on Mosafer and third parties. See Ashcroft
25   v. Iqbal, 556 U.S. 662, 685–86 (2009) (not allowing discovery to proceed as to other
26   parties where complaint failed to state a plausible claim to overcome certain defendants’
27   qualified immunity defense); M.G. v. Metro. Interpreters and Translators, Inc., No. 12-
28   cv-460, 2013 WL 690833, at *2 (S.D. Cal. Feb. 26, 2013) (staying discovery for all
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 1   defendants where “the conduct of the government actors” who had an immunity claim
 2   was “inextricably intertwined with the allegations against the [other] defendants”).
 3   Broidy’s actions in his prior case against Qatar, in which he engaged in extensive third-
 4   party discovery that implicated issues of diplomatic immunity and Qatar’s foreign policy,
 5   illustrates the manner in which any discovery, regardless of who it is served on, would
 6   improperly burden the sovereign.
 7          Qatar’s entitlement to a stay of discovery is accordingly clear; a stay is also
 8   appropriate in light of the related collateral order doctrine, which permits foreign states to
 9   immediately appeal any ruling that they lack sovereign immunity. Both doctrines work
10   together to prevent courts from prematurely intruding on a foreign state’s immunity,
11   particularly because the harms of subjecting an immune state to the burdens of litigation
12   cannot be redressed after the fact. See Process & Indus. Devs. Ltd., 962 F.3d at 586–87
13   (reversing, under the collateral order doctrine, district court’s order to proceed with
14   briefing on merits before resolving foreign sovereign’s immunity); see also In re
15   Papandreou, 139 F.3d at 253–56 (granting petition for writ of mandamus and vacating
16   order authorizing depositions from Greek cabinet ministers). Just as the collateral order
17   doctrine prevents premature discovery while an appeal is pending, a stay of discovery
18   protects foreign sovereign immunity while a motion to dismiss is pending. Both
19   doctrines protect foreign sovereigns from “the expense, intrusiveness, and hassle of
20   litigation” while their entitlement to immunity is being litigated. EM Ltd., 695 F.3d at
21   210.
22          Indeed, courts are hesitant to allow even limited jurisdictional discovery into
23   grounds for immunity—let alone discovery into the merits of claims raised against a
24   foreign state—before the state’s motion to dismiss is decided. See Af-Cap, Inc. v.
25   Chevron Overseas (Congo) Ltd., 475 F.3d 1080, 1095–96 (9th Cir. 2007) (providing that
26   jurisdictional discovery “should be ordered circumspectly”) (internal quotation marks
27   omitted) (quoting Conn. Bank of Com. v. Republic of Congo, 309 F.3d 240, 260 n.10 (5th
28   Cir. 2002)); In re Papandreou, 139 F.3d at 253 (same, “lest the evaluation of the
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        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF COUNTERCLAIM-DEFENDANT STATE OF QATAR’S MOTION TO STAY
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 1   immunity itself encroach unduly on the benefits the immunity was to ensure”).
 2   Jurisdictional discovery is not appropriate at all where—as in this case—the jurisdictional
 3   questions regarding entitlement to immunity can be determined as a matter of law,
 4   because the allegations “would not demonstrate a basis for jurisdiction” even if they were
 5   to be “proven through additional discovery.” Butler v. Sukhoi Co., 579 F.3d 1307, 1314–
 6   15 (11th Cir. 2009). Instead, jurisdictional discovery during the pendency of a motion to
 7   dismiss pursuant to the FSIA is appropriate only when such discovery would materially
 8   affect the court’s FSIA analysis. See, e.g., Goodman Holdings v. Rafidain Bank, 26 F.3d
 9   1143, 1146–47 (D.C. Cir. 1994) (affirming dismissal where jurisdictional discovery
10   would have produced facts “legally irrelevant” to the commercial activity exception).
11         Here, Qatar has concurrently filed a Motion to Dismiss, asserting that the Court
12   lacks subject matter and personal jurisdiction due to the State’s sovereign immunity
13   under the FSIA. The Motion to Dismiss explains that, even taking Broidy’s allegations
14   as true, the exceptions to FSIA immunity invoked in the counterclaims are inapplicable as
15   a matter of law, and Qatar therefore fully retains its immunity from suit. If successful,
16   the Motion to Dismiss would end the case as to Qatar, and the State would no longer be a
17   party to the suit. The Motion would also remove the majority of the counterclaims—
18   Counts Four through Twelve—from the case entirely, because those counts are pled
19   against Qatar only. Because Qatar’s Motion has raised a threshold jurisdictional question
20   of sovereign immunity, and in order to ensure that Qatar’s enjoyment of that immunity is
21   not thwarted while the immunity issues are being adjudicated—including with respect to
22   discovery that is directed at other counterclaim-defendants and third parties, but is related
23   to the claims against Qatar—discovery related to Broidy’s counterclaims must be stayed
24   to the extent that they implicate the State. Further, because Qatar has moved to dismiss
25   the counterclaims on the basis of the pleadings, and because Qatar argues in that motion
26   that the counterclaims’ allegations—even if proven—do not support any of the FSIA’s
27   exceptions to immunity, there is no basis for permitting jurisdictional discovery.
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 1         Finally, even setting aside the unique circumstances of sovereign immunity that
 2   preclude Qatar from being subjected to discovery at this stage, a stay would be an
 3   appropriate exercise of the Court’s discretion. In cases that do not involve the special
 4   concerns of a foreign state, district courts in the Ninth Circuit still regularly stay
 5   discovery pending resolution of a dispositive motion. See, e.g., Top Rank, Inc. v.
 6   Haymon, No. 15-4961, 2015 WL 9952887, at *1 (C.D. Cal. Sept. 17, 2015) (“The Court
 7   has broad discretion to stay discovery pending the outcome of a potentially dispositive
 8   motion.”); SSI (U.S.), Inc. v. Ferry, No. 2:21-cv-02073, 2021 WL 4812952, at *3 (C.D.
 9   Cal. May 25, 2021) (granting stay pending ruling on motion to dismiss). Such stays are
10   particularly appropriate—and “further[] the goal of efficiency for the court and
11   litigants”—where the court is deciding issues of immunity. Little v. City of Seattle, 863
12   F.2d 681, 685 (9th Cir. 1988). Qatar’s pending Motion to Dismiss would resolve all of
13   the claims against Qatar and all of the hacking claims. Moreover, even if there were
14   some basis for an exception to immunity under the FSIA, any discovery in this case
15   would still raise sensitive issues of sovereignty and immunity, including the protection of
16   diplomatic materials and correspondence under the Vienna Convention on Diplomatic
17   Relations. In addition to the reasons described above for why a stay is necessary in order
18   to ensure that Qatar’s sovereign immunity is not compromised while its Motion to
19   Dismiss is pending, sound judicial management favors postponing the complex and
20   sensitive questions that would inevitably arise in the unlikely event the counterclaims
21   were to proceed.
22                                               CONCLUSION
23         For the foregoing reasons, Counterclaim-Defendant State of Qatar respectfully
24   requests that the Court stay discovery pertaining to Counts Four through Twelve of the
25   Counterclaims, as well as to Counts One through Three, to the extent those latter counts
26   implicate Qatar, until it decides the threshold legal issues raised in Qatar’s Motion to
27   Dismiss.
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 1
      Dated: December 15, 2021                            Respectfully submitted,
 2

 3                                                        COVINGTON & BURLING LLP
 4

 5                                                        By: /s/ Mitchell A. Kamin
 6                                                             MITCHELL A. KAMIN
                                                               Attorney for Counterclaim-Defendant
 7                                                             State of Qatar
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        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF COUNTERCLAIM-DEFENDANT STATE OF QATAR’S MOTION TO STAY
